                 EXHIBIT C


Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
             Description: Exhibit C - Coverage Chart, Page 1 of 14
                            A UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF NEW YORK


    In re:                                               Case No.: 20-10322-CLB

    The Diocese of Buffalo, N.Y.,                        Chapter 11

                  Debtor.

    The Diocese of Buffalo, N.Y.,

                  Plaintiff,
                                                          Adversary Proceeding No.:
    v.                                                    20-01016-CLB
     JMH 100 Doe, et al. 1,

                  Defendants.


  DECLARATION OF ATTORNEY JAMES R. MURRAY IN SUPPORT OF THE
MOTION TO ENJOIN THE CONTINUED PROSECUTION OF CERTAIN LAWSUITS

             Pursuant to 28 U.S.C. § 1746, JAMES R. MURRAY, ESQ., hereby declares and says as

follows:

             1.    I am a partner of the law firm of Blank Rome, LLP (“Blank Rome”), which is

Special Insurance Counsel to The Debtor Diocese of Buffalo, N.Y. (“Diocese”) in this case. This

Declaration is filed in support of the Diocese’s Motion for an order enjoining the continued

prosecution of certain lawsuits.




1
 The defendants in this adversary proceeding are identified in Exhibit A to the complaint filed by
The Diocese of Buffalo, N.Y.



     Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
                  Description: Exhibit C - Coverage Chart, Page 2 of 14
Experience

        2.     I am Chair of Blank Rome’s policyholder-only Insurance Recovery Practice Group,

which has received numerous group-wide and attorney-specific national recognitions. 2

        3.     I have 35 years of insurance coverage experience, representing exclusively

policyholders against insurance companies. A significant portion of that experience involves

pursuing coverage under general liability policies from the 1940’s through the 1980’s for

environmental, asbestos, and other matters involving events that go back many years.

        4.     I was retained in 2003 by the Catholic Archdiocese of Seattle to advise regarding

coverage for underlying claims of sexual abuse of minors.

        5.     Since 2003, about half of my practice has involved insurance coverage for historical

sexual abuse claims. I have represented more than twenty-five such clients, including religious

organizations, schools, and hospitals.

        6.     Of those sexual abuse matters, I was Special Insurance Counsel for the debtors in

the following Chapter 11 proceedings, each having been resolved by way of a consensual plan

consisting of both debtor contributions and also substantial insurance company contributions to a

survivor trust: (1) Diocese of Spokane (Spokane, Washington); (2) Society of Jesus, Northwest

Province of Jesuits (Portland, Oregon); (3) Diocese of Helena (Helena, Montana); (4) Diocese of

Duluth (Minneapolis, Minnesota); and (5) the Diocese of New Ulm (Minneapolis, Minnesota).




2 Those announced since January 2020 include Law360’s Insurance Practice of the Year (2019)
(second year in a row), Benchmark Litigation’s Insurance Firm of the Year (2020) and the
National Law Journal’s D.C. Litigation Department of the Year (Insurance) (2020) (second time
in three years). Individually, I am ranked nationally in insurance by Chambers USA, as well as in
Band 1 in Washington, D.C. Best Lawyers named me its 2020 “Lawyer of the Year” for
Insurance Litigation in Washington, D.C. BTI Consulting Group designated me a 2019 “Client
Service All-Star” for my work in insurance recovery for clients across the country.
                                                 2


    Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
                 Description: Exhibit C - Coverage Chart, Page 3 of 14
       7.      I am presently Special Insurance Counsel for the debtors in the following ongoing

Chapter 11 proceedings: (1) Archdiocese of Agaña (Guam); (2) Archdiocese of Santa Fe

(Albuquerque, New Mexico); (3) Diocese of Rochester (Rochester, New York); and (4) the

Archdiocese of New Orleans (New Orleans, Louisiana). I am also coverage counsel to the Diocese

of St. Cloud (Minnesota), which recently announced an agreement with survivors to fund a trust

to compensate survivors, along with a commitment to file for Chapter 11 bankruptcy protection in

the near future. I also served as insurance counsel for the Archdiocese of Seattle in an adversary

proceeding in the Christian Brothers bankruptcy (New York). I also represent several other

Catholic entities, which have not filed for bankruptcy, including, for example, the Archdiocese of

New York and Saint John’s Abbey in Minnesota.

       8.      In each concluded bankruptcy case in which I have been involved, insurance

contributions to the survivor trust (the “pot”) were critical components of agreement on a

consensual plan. Working with (and sometimes against) the insurance companies and with the

survivor Creditors’ Committees is, in my experience, the best way to provide the greatest amount

of compensation for the greatest number of survivors.

Diocese’s Insurance

       9.      This case is no different. Attached as Exhibit A to this affidavit is a coverage

“chart” that my firm prepared depicting relevant insurance policies identified thus far from the

Diocese’s post-1973 insurance program (the “Post 1973 Policies”). The chart is based on the

Diocese’s existing analysis of information currently available. The Diocese previously provided

a version of the coverage chart to counsel for the Committee of Unsecured Creditors (“Committee

Counsel”) on April 7, 2020. The Diocese produced copies of the Post 1973 Policies and related

documents on which the coverage chart is based to Committee Counsel on May 29, 2020.

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  Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
               Description: Exhibit C - Coverage Chart, Page 4 of 14
       10.     The Diocese continues to investigate its historical insurance program. The Diocese

has been working with an insurance archeology firm to search for missing policies that may

provide coverage for sexual abuse claims. This effort has involved collecting and reviewing

historical files from the Diocese, its parishes, and affiliates, requesting copies of policies from

insurers, and identifying and searching other potential sources of information about the Diocese’s

historical insurance policies. As discussed below, the Diocese’s insurance archeology firm is

currently reviewing financial records from the parishes for information about insurance.

       11.     The Diocese’s insurance provides the Diocese, parishes, and other affiliated entities

with general liability insurance. From July 1, 1973 until July 1, 1990, the Diocese purchased

occurrence-based general liability coverage. Occurrence-based policies cover any claims alleging

loss arising out of an occurrence during the policy period, no matter when that claim is made.

       12.     From July 1, 1973 to July 1, 1978, the Diocese purchased primary insurance

policies from Commercial Insurance of Newark, NJ (“CNA”). These policies provide $500,000

per occurrence and $250,000 per person limits of liability. From July 1, 1976 to July 1, 1978,

CNA also issued the Diocese excess coverage, which provides $1 million per occurrence limits of

liability in addition to the primary coverage. From July 1, 1976 to July 1, 1977, National Union

Fire Insurance Company (“National Union”) issued a $4 million excess policy, which provides

coverage to the Diocese excess to CNA’s excess policy and the primary policy in that year. On

July 1, 1977, Fireman’s Fund Insurance Company issued a $4 million blanket excess liability

policy that replaced National Union’s coverage. However, this policy was cancelled effective July

11, 1977, and the Diocese again purchased a $4 million excess policy from National Union for the

period July 11, 1977 to July 1, 1978.




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  Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
               Description: Exhibit C - Coverage Chart, Page 5 of 14
       13.     From July 1, 1978 to July 1, 1980, the Diocese purchased primary coverage from

the Wausau Insurance Companies (“Wausau”), which provides $500,000 per occurrence limits of

liability. From July 1, 1979 to July 1, 1980, Wausau also issued the Diocese excess coverage,

which provides $5 million per occurrence limits of liability.

       14.     From July 1, 1980 to July 1, 1981, the Diocese purchased primary coverage from

Proprietors Insurance Company (“Proprietors”). Proprietors was ordered into liquidation on

September 10, 1981, and is therefore no longer paying claims.

       15.     From July 1, 1981 to July 1, 1983, the Diocese purchased primary coverage from

Exchange Mutual Insurance Company (“Exchange”), which provides $1 million per occurrence

limits of liability. These primary policies include a $15,000 self-insured retention (“SIR”), not to

exceed $200,000 in the aggregate, for which the Diocese is responsible before Exchange begins

paying on a claim. For the 1982 to 1983 policy period, the SIR’s aggregate cap was reduced to

$100,000. Also for the 1982 to 1983 policy period, Exchange issued the Diocese an excess policy,

which provides $50 million per occurrence limits of liability.

       16.     An SIR functions similarly to a deductible and is a sum that the policyholder must

pay out of pocket before the risk-transferred insurance coverage issued by the insurers can be

accessed.

       17.     Under the Diocese joint self-insurance program (the “SIP”), which provides risk

management services and insurance coverage for the Diocese as well as the parishes and affiliated

entities, the Diocese is responsible for all SIRs owed by the parishes and affiliated entities insured

under the SIP. (Declaration of John M. Scholl Regarding the Diocese’s Self-Insurance Program

and Available Insurance Coverage ¶ 9, ECF No. 5).




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  Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
               Description: Exhibit C - Coverage Chart, Page 6 of 14
       18.     From July 1, 1983 to July 1, 1984, the Diocese returned to purchasing coverage

from Wausau. Wausau issued a primary policy providing $1 million per occurrence limits of

liability with a $10,000 per claim deductible. Wausau also issued the Diocese an excess policy for

the 1983 to 1984 period, which provides $50 million per occurrence limits of liability.

       19.     From July 1, 1984 to July 1, 1985, the Diocese purchased primary coverage from

Exchange, which provides $1 million per occurrence limits of liability. The policy included a

$15,000 SIR, with a $125,000 aggregate cap on the SIR. In addition, the Diocese also purchased

a $50 million excess liability policy during the 1984 to 1985 period, but the Diocese has not yet

identified the issuing insurer and continues to search for and identify additional information

regarding its historical insurance program.

       20.     Through the mid-1980s, sexual misconduct claims had not become sufficiently

widespread to elicit a specific exclusion. However, in the mid-1980s, carriers began introducing

abuse exclusions and other limitations and the insurance market for sexual misconduct coverage

tightened substantially.

       21.     In July 1985, the Diocese moved its insurance program to the Catholic Mutual

Relief Society of America (“Catholic Mutual”). From July 1, 1985 to July 1, 1986, Catholic

Mutual issued a certificate providing $1 million per occurrence limits of liability and $35 million

umbrella excess liability. Catholic Mutual also included a $15,000 SIR with a $125,000 aggregate

cap.

       22.     Beginning in the 1986 to 1987 policy period, Catholic Mutual excluded sexual

misconduct claims, but offered so-called morality coverage at a separate, reduced sub-limit of

liability. The Diocese purchased morality coverage on an occurrence basis with a $100,000

sublimit. For the 1987 to 1990 policy periods, the Diocese was able to increase the sublimit to

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  Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
               Description: Exhibit C - Coverage Chart, Page 7 of 14
$250,000 through the newly-formed Catholic Underwriting Pool. As of July 1988, the SIR

aggregate cap increased to $350,000.

       23.     Starting in 1990, the Diocese’s liability coverage for sexual abuse became claims-

made. Claims-made coverage limits coverage to only those claims made during the policy period

that allege wrongdoing after a “retroactive date.” Generally speaking, claims-made policies

respond to claims made for the first time during the policy period, and not those first made against

the policyholder after the end of the policy period. Except for claims made during the policy

period, the coverage under a claims-made policy expires when the policy period concludes.

       24.     Beginning June 1, 1999, the Diocese has purchased claims-made sexual misconduct

coverage from The National Catholic Risk Retention Group, Inc. (“National Catholic”).

       25.     For the current policy period from July 1, 2019 to July 1, 2020, the Diocese

purchased two policies from National Catholic. The first policy provides a $750,000 each loss and

aggregate limit of liability for sexual misconduct coverage after a $250,000 per loss SIR with a

July 1, 1990 retroactive date. The second provides $4 million each loss and aggregate limit excess

coverage for claims related to sexual misconduct with a June 1, 2002 retroactive date.

       26.     The Diocese has been able to verify that the parishes and affiliated entities are

named insureds on many Post 1973 Policies, although some policies are missing or incomplete.

For example, the 1976 to 1977 National Union excess policy broadly defines the named insured

as “The Diocese of Buffalo, all subordinate civil corporations, all unincorporated Agencies,

Departments, or Commissions comprising the Diocese of Buffalo under its management and

control as may now or may hereinafter be constituted.” The 1983 to 1986 Wausau primary policy

includes almost identical language.

       27.     The present National Catholic policy defines the Named Insured to include:

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  Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
               Description: Exhibit C - Coverage Chart, Page 8 of 14
                 Catholic Diocese of Buffalo, New York . . . and all of the
                 subordinate civil corporations and all unincorporated agencies,
                 departments or commissions comprising the Diocese of Buffalo
                 under its management and control, as may now or hereafter be
                 constituted; including Parishes, Schools, Cemeteries and other
                 directly connected agencies.
(emphasis added).

       28.       Prior to 1973, each parish was responsible for purchasing its own insurance

coverage. In March 2020, the Diocese located large volumes of annual reports from each of its

parishes. Some reports contain insurance information while others do not have any at all. The

Diocese is working with an insurance archeology firm to review the reports as quickly as possible,

and the Diocese expects to have the first analysis by early July. The results of that analysis will

dictate how much more work needs to be done in meeting policy proof requirements.

       29.       The Diocese continues to search for coverage that it had prior to 1973 but, to date,

has not located documents evidencing its coverage beyond the discussion in paragraph 28. Based

on my experience, it is possible that the Diocese is an additional insured for coverage provided by

at least some the pre-1973 policies.

Examples of Depletion of Debtor’s Assets

       30.       Litigation against the parishes and affiliated entities can deplete the insurance and

other assets of the Diocese’s estate that otherwise would be available to the survivor trust. For

example:

             •   From 1986 to 1990, Catholic Mutual issued certificates containing aggregate limits

                 of liability that would likely apply to the instant claims. That is, the certificates set

                 forth a maximum amount the insurer will pay for claims in a given policy period,

                 regardless of how many claims are asserted. Once the aggregate limit has been

                 reached, the coverage is exhausted and no longer available. While the Diocese

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  Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
               Description: Exhibit C - Coverage Chart, Page 9 of 14
           believes that the 1988 to 1990 policies may be exhausted currently, the 1986 to

           1988 policies are still available.

       •   The aggregate limits for the 1986 to 1990 Catholic Mutual certificates are eroded

           by the defense costs expended in connection with covered claims. Thus, the cost

           of defending state court tort litigation against the parishes and affiliated entities

           would reduce the amount of insurance coverage available to fund the survivor trust.

       •   The claims-made policy issued for the current policy period similarly contains an

           aggregate limit of liability, which is reduced by defense costs. Thus, each claim

           alleging wrongdoing after 1990 that is filed between July 2019 and July 2020, and

           allowed to proceed against the parishes and affiliated entities, will further reduce

           and risk exhausting the current insurance policy’s available limits.

       •   The primary policies and certificates issued by Exchange and Catholic Mutual, as

           well as the current National Catholic policy, incorporate a SIR. Under the SIP, the

           Diocese is responsible for all SIRs owed by the parishes and affiliated entities

           insured by the comprehensive program. (Declaration of John M. Scholl Regarding

           the Diocese’s Self-Insurance Program and Available Insurance Coverage ¶ 9, ECF

           No. 5). Thus, permitting litigation against the parishes and affiliated entities to

           proceed will force the Diocese to pay hundreds of thousands of dollars for the SIR

           under each policy, further depleting the funds that the Diocese can otherwise make

           available to the survivor trust.

       •   New York courts have held that the number of occurrences is based on the instances

           of alleged abuse, not how many entities were allegedly negligent in oversight.

           Therefore, when multiple insureds seek coverage for those occurrences from the

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Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
             Description: Exhibit C - Coverage Chart, Page 10 of 14
                 same policy, the limits of liability are divided between the insureds. That is, the

                 Diocese and co-defendant parish may be jointly entitled to a single limit and the

                 parish could quickly use up the available coverage for that claim, leaving the

                 Diocese unable to recover any insurance proceeds for the claim.

       31.       In addition to the depletion of insurance assets, other practical considerations

further support imposing a stay in this instance. For example:

             •   Litigation against the parishes could result in rulings or factual findings that could

                 jeopardize coverage for the Diocese. For example, a court may find that both the

                 parish and the Diocese knew of a priest’s abuse, which could serve as the basis for

                 a ruling that the Diocese knew of the abuse of a priest. The litigation against the

                 parishes, especially in the event of a verdict, could also lead to insurance coverage

                 litigation that could also result in adverse rulings and findings that could jeopardize

                 coverage for the Diocese. Insurance coverage litigation against a parish would

                 involve many of the same issues that insurance litigation against the Diocese would

                 involve.

             •   Litigation against the parishes and affiliated entities may trigger requests seeking

                 discovery from the Diocese, causing the Diocese to expend portions of its limited

                 resources to respond to those requests.

             •   Separate from the threat of eroding limits, insurers are often able to offer increased

                 contributions to a survivor trust or other settlements if they are not simultaneously

                 facing indeterminate, mounting defense costs which would be incurred as a result

                 of litigation against the parishes and affiliated entities.




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  Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
               Description: Exhibit C - Coverage Chart, Page 11 of 14
             •   Parishes and affiliated entities will want to participate in the bankruptcy process

                 with the aim of reaching a global resolution of all claims against the Diocese, the

                 parishes, and affiliated entities. Part of the consideration for the parishes’ and the

                 affiliated entities’ participation in a global resolution will be the insurance coverage

                 under the Pre-1973 Policies.

       32.       Based on all of the foregoing policy and practical considerations, continuing

litigation against the parishes and affiliated entities could negatively inhibit the Diocese’s ability

to recover from historical insurance policies, deplete its already limited assets, and reduce the pot

available to compensate survivors’ claims.

       33.       I declare under penalty of perjury that the foregoing is true and correct. Executed

on June 4, 2020 in the District of Columbia.




                                                 _________________________________
                                                       James R. Murray, Esq.




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  Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
               Description: Exhibit C - Coverage Chart, Page 12 of 14
                              EXHIBIT A




Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,
             Description: Exhibit C - Coverage Chart, Page 13 of 14
DRAFT                                                                                                                                                                                                          Diocese of Buffalo
                                                                                                                                                                                                                Coverage Chart
                                                                                                                                                                                                                  1973-2020


         $70,000,000.00
         $60,000,000.00                     Incomplete
         $50,000,000.00                     Substantial Secondary Evidence                                                                                                                                                        Exchange           Wausau             Carrier
         $40,000,000.00                     Some Secondary Evidence                                                                                                                                                            7/1/82-7/1/83      7/1/83-7/1/84       Unknown
         $35,000,000.00                     Abuse Exclusion                                                                                                                                                                     601-0-00001       093403048397      7/1/84-7/1/85 Catholic Mutual
                                                                                                                     Fireman's Fund
         $30,000,000.00                     Pastoral Professional Liability Exclusion                                                                                                                                            $50M/occ.          $50M/occ.         $50M/occ.    7/1/85-7/1/86                                                                       Catholic Mutual                                    Berkley
                                                                                                                     7/1/77-7/11/77
         $20,000,000.00                     No Coverage Available
                                                                                                                      XLS-1203503                                                                                                                                                     SMP7477                                          Catholic Mutual Catholic Mutual 7/1/90-7/1/91                                   CEX09601635-
         Change in scale
                                                                                                                        $4M/occ.                                                                                                                                                     $35M/occ.                                          7/1/88-7/1/89 7/1/89-7/1/90         8069                                            04
         $10,000,000.00               S.I.R. = applies to "losses arrising out of one event or                                                                         Wausau      Proprietors                                                                                                                         Catholic Mutual      7881            8069        $24.5M/occ.                                      $25M/occ.
                                                                                                                        $4M/agg.
         $9,000,000.00                series of events related to one common cause"                                                                                 7/1/79-7/1/80 7/1/80-7/1/81                                                                                                                         7/1/87-7/1/88 $19.5M/occ.       $19.5M/occ.                                                     $25M/agg.
         $8,000,000.00                                                                                                                                              092003048397      1016                                                                                                                                  7881
         $7,000,000.00                * = S.I.R. aggregate satisfied per 3/23/94 fax
                                                                                                                                                                      $5M/occ.         OLT                                                                                                                               $9.5M/occ.
         $6,000,000.00                                                                                                                                                              $10M/occ.                                                                                                        Catholic Mutual
         $5,500,000.00                                                                                        Nat'l Union          Nat'l Union                                      $200/occ.                                                                                                         7/1/86-7/1/87
         $5,000,000.00                                                                               7/1/76-7/1/77                 7/11/77-                                         deductible                                                                                                          SMP 7649                                                                                                           TNCRRG
                                                                                                        1189428                     7/1/78                                        $15K/occ.S.I.R.                                                                                                      $5.5M/occ.                                                                                                       7/1/19-7/1/20
         $4,500,000.00                                                                                 $4M/occ.                      $4M                                                                                                                                                                                                                                                                                 RRG 1054-20
                                                                                                                                                                                   ($200/agg.)
                                                                                                                                                                                                                                                                                                                                                                                                                          $4M/loss
         $4,000,000.00
                                                                                                                                                                                              Insolvent                                                                                                                                                                                                                   $4M/agg.
         $3,000,000.00                                                                                                                                                                                                                                                                                                                                                                                                    Retrodate:
                                                                                                                                                                                                                                                                                                                                                                                                                          6/1/2002
         $2,000,000.00
                                                                                                                                                                                                                                                                                                                                                                                                                          Claims made
         $1,500,000.00                                                                                                    CNA
                                                                                                                     7/1/76-7/1/78
         $1,000,000.00                                                                                                LX653 80 58                                                                              Exchange           Exchange           Wausau            Exchange    Catholic Mutual                                                                                                                         TNCRRG
                                                                                                                       $1M/occ.                                                                             7/1/81-7/1/82      7/1/82-7/1/83      7/1/83-7/1/84     7/1/84-7/1/85 7/1/85-7/1/86                                                                                                                         7/1/19-7/1/20
         Change in scale                                                                                                                                                                                     601-8-99001        601-8-98001       092606048397       601-8-98002      SMP7477                                                                                                                            RRG 1054-19
         $650,000.00                                                                                                                                                                                                                                                                                                                                                   Catholic Mutual
                                                                                                                                                                                                               $1M/occ.           $1M/occ.          $1M/occ.           $1M/occ.         OLT                                                                                                                               $750K/loss
                                                                                                                                                                                                                                                                                                                                                                        7/1/90-7/1/91
                                                                                                                                                                                                              $200/claim         $200/claim        $10K/claim         $15K S.I.R.     $1M/occ.                                                                                                                            $750K/agg.
                                                                                                                                                                                                                                                                                                                                                                            8069
                                                                                                                                                                                                              deductible         deductible         deductible       ($125K/S.I.R.   $15K S.I.R.                                                                                                                         $250K S.I.R.
                                                                                                                                                                                                                                                                                                                                                                         $650K/claim
                                                                                                                                                                                                              $15K S.I.R.        $15K S.I.R.                             agg.)      ($125K/agg.)                                                                                                                          Retrodate:
                                                                                                                                                                                                                                                                                                                                                                           Morality
                                                                                                                                                                                                            ($200K/ S.I.R.      ($100K/S.I.R.                                                                                                                                                                              7/1/1990
                                                                                                                                                                                                                                                                                                                                                                           sublimit
                                                                                                                                                                                                                agg.)*              agg.)
         $500,000.00                                     Commercial Insurance of Newark, NJ           Commercial              Commercial                        Wausau                                                                                                                                                                                                                                                    Claims made
                                                                                                                                                                                                                                                                                                                                                                           Claims made
                                                                  7/1/73-7/1/76                       Insurance of            Insurance of                  7/1/78-7/1/80
                                                                  VBP 06956401                         Newark, NJ              Newark, NJ                   092100048397
                                                                        or                           7/1/76-7/1/77           7/1/77-7/1/78                    $500K/occ.
                                                                  VBP 06956301                        VBP 6856413             VBP 6956413                      $10K/occ.
                                                                    $500K/occ.                         $500K/occ.              $500K/occ.                     deductible
                                                                  $250K/person                       $250K/person            $250K/person




         $250,000.00                                                                                                                                                                                                                                                                                                Catholic Mutual Catholic Mutual Catholic Mutual
                                                                                                                                                                                                                                                                                                                     7/1/87-7/1/88 7/1/88-7/1/89 7/1/89-7/1/90
                                                                                                                                                                                                                                                                                                                         7881            7881            8069
                                                                                                                                                                                                                                                                                                                         $250K          $250K           $250K
                                                                                                                                                                                                                                                                                                                        morality       morality        morality
                                                                                                                                                                                                                                                                                                                        sublimit       sublimit        sublimit
                                                                                                                                                                                                                                                                                                                       $15K S.I.R.    $15K S.I.R.     $15K S.I.R.
         $100,000.00                                                                                                                                                                                                                                                                                 Catholic Mutual ($125K/agg.)    ($350K/agg.)    ($350K/agg.)
                                                                                                                                                                                                                                                                                                      7/1/86-7/1/87
                                                                                                                                                                                                                                                                                                         SMP 7649
                                                                                                                                                                                                                                                                                                        $100K/agg.
                                                                                                                                                                                                                                                                                                          morality
                                                                                                                                                                                                                                                                                                          sublimit
                                                                                                                                                                                                                                                                                                        $15K S.I.R.
                                                                                                                                                                                                                                                                                                       ($125K/agg.)
                           07/01/72




                                              07/01/73




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06/02/2020                                                                                                                        Case 1-20-01016-CLB, Doc 303-3, Filed 11/21/23, Entered 11/21/23 16:07:11,                                                                                                                                                                                                                                       Page 1 of 1
                                                                                                                                               Description: Exhibit C - Coverage Chart, Page 14 of 14
